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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
MALLINCKRODT ARD LLC,                               )
                                                    )
                      Plaintiff,                    )
                                                    )
                      v.                            )       Civil Action No. ______________
                                                    )
SEEMA VERMA,                                        )
in her official capacity as                         )
ADMINISTRATOR, CENTERS FOR                          )
MEDICARE & MEDICAID SERVICES,                       )
                                                    )
and                                                 )
                                                    )
ALEX M. AZAR II,                                    )
in his official capacity as SECRETARY,              )
UNITED STATES DEPARTMENT OF                         )
HEALTH AND HUMAN SERVICES,                          )
                                                    )
                      Defendants.                   )
                                                    )

         LOCAL CIVIL RULE 26.1 CORPORATE DISCLOSURE STATEMENT

       Plaintiff Mallinckrodt ARD LLC certifies that the following are the parent companies,

subsidiaries, affiliates, or companies owning at least 10% of the stock of Mallinckrodt ARD LLC

which have any outstanding securities in the hands of the public:

       Mallinckrodt ARD LLC is an indirectly wholly-owned subsidiary of Mallinckrodt plc.

       Mallinckrodt plc is a public limited liability company organized under the laws of Ireland

and headquartered in Staines-upon-Thames, United Kingdom. Its shares are publicly traded on

the New York Stock Exchange. Mallinckrodt plc has no parent corporation. As disclosed in

Mallinckrodt plc’s 2019 Proxy Statement filed with the U.S. Securities and Exchange
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Commission on April 3, 2019, as of March 11, 2019 each of Black Rock, Inc. and JPMorgan

Chase & Co. owns 10% or more of Mallinckrodt plc's stock.



These representations are made in order that judges of this Court may determine the need for

recusal.



                                          Respectfully submitted,

                                          /s/ Catherine E. Stetson
                                          Catherine E. Stetson (D.C. Bar No. 453221)
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                                          Counsel for Mallinckrodt ARD LLC

Dated: May 20, 2019




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